 Case 21-03020-sgj Doc 125 Filed 10/22/21            Entered 10/22/21 15:06:39      Page 1 of 4 105a (rev.
                                                                                           BTXN
                                                                                             09/19)

                          UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF TEXAS

In Re:
         UBS SECURITIES LLC and UBS
         AG LONDON BRANCH,                       §
                                                 §    Case No.:   19-34054-SGJ11
                                Plaintiff(s)     §
                                                 §
 v.      HIGHLAND CAPITAL                        §    Adversary No.:   21-03020-sgj
         MANAGEMENT, L.P.,                       §
                                Defendant(s)     §
                                                 §


                      APPLICATION FOR ADMISSION PRO HAC VICE


1.             Burt,                      Jason                     R.
         Name: ________________________________________________________________
                   Last                               First                        MI

2.                   Latham & Watkins LLP
         Firm Name: ____________________________________________________________

3.                555 Eleventh Street, NW
         Address: ______________________________________________________________
                  Suite 1000
                  ______________________________________________________________
                  Washington, D.C. 20004
                  ______________________________________________________________
4.               (202) 637-2200
         Phone: ______________________________       (202) 637-2201
                                               FAX: ___________________________

                 jason.burt@lw.com
         Email: _____________________________________

5.                                         Jason R. Burt
         Name used to sign all pleadings: ___________________________________________

6.                    UBS Securities LLC and UBS AG London Branch
         Retained by: ___________________________________________________________

7.                    May 9, 2008
         Admitted on __________________________ and presently a member in good standing
                                                          District of Columbia
         of the bar of the highest court of the state of __________________________________
                                              980862
         and issued the bar license number of __________________________ .

8.       Admitted to practice before the following courts:
         Court:                                               Admission Date:
         See Attachment
         ____________________________________                 _________________________
         ____________________________________                 _________________________
         ____________________________________                 _________________________
                                                                                        Continued.
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9.    Are you presently a member in good standing of the bars of the courts listed above?
      ✘   Yes    No
      If “No,” please list all courts which you are no longer admitted to practice:




10.   Have you ever been subject to a grievance proceeding or involuntary removal proceeding
      while a member of the bar of any state or federal court?
          Yes ✘ No
      If “Yes,” please provide details:




11.   Other than minor traffic offenses, have you ever been charged, arrested, or convicted of a
      criminal offense or offenses?
          Yes ✘ No
      If “Yes,” please provide details:




12.   Please list all cases in the United States Bankruptcy Court, Northern District of Texas in
      which you have filed forpro hac vice in the past three years:
      Date of Application            Case No. and Style
      __________________             _______________________________________________
      __________________             _______________________________________________
      __________________             _______________________________________________


13.   Local counsel of record: ___________________________________________________
                                 Butler Snow LLP


14.   Local counsel’s address: ___________________________________________________
                                 2911 Turtle Creek Blvd., Suite 1400
      _______________________________________________________________________
                            Dallas, Texas 75219




                                                                                         Continued.
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       I respectfully request to be admitted to practice in the United States Bankruptcy Court for
the Northern District of Texas for this cause only.

       I certify that I have read Dondi Properties Corp. V Commerce Savs. & Loan Ass’n, 121
F.D.R. 284 (N.D. Tex. 1988) (en banc), and the local civil and bankruptcy rules of this court and
will comply with the standards of practice adopted in Dondi and with the local civil and
bankruptcy rules.

          I am an ECF filer. I also certify that I have served a true and correct copy of this
document upon each attorney of record and filed the application via ECF with the payment of
$100.00

          I am not an ECF filer. I also certify that I have served a true and correct copy of this
document upon each attorney of record and the original upon the US Bankruptcy Court
                                              October 22, 2021
accompanied with the $100.00 filing fee on ________________.



Jason R. Burt
_______________________________                                       October 22, 2021
                                                                    ____________________
Printed Name of Applicant                                           Date



_______________________________
Signature of Applicant
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                             Jason R. Burt Courts of Admission


Utah State Bar (Bar No. 11200): November 2, 2006

U.S. Court of Appeals for the 2nd Circuit: November 12, 2020

US. Court of Appeals for the 9th Circuit: June 19, 2007

U.S. Court of Appeals for the 10th Circuit: January 13, 2015

U.S. District Court - District of Columbia: August 2, 2021

U.S. Supreme Court: April 27, 2010
